            Case 1:17-cv-02233-ABJ Document 7 Filed 01/31/18 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                         Plaintiff,   )
                                      )
             v.                       )                      Civil Action No.: 17-2233 (ABJ)
                                      )
$47,000 IN U.S. FUNDS ASSOCIATED WITH )
JP MORGAN CHASE ACCOUNT NOS.          )
XXXXXX3282, XXXXXX0170,               )
                                                      )
                        Defendants.                   )

                           AFFIDAVIT IN SUPPORT OF DEFAULT

       1.      I am the attorney of record for the plaintiff United States of America in the

above-captioned case.

       2.      This declaration is executed by me in accordance with Rule 55(a) of the Federal

Rules of Civil Procedure, for the purpose of enabling the plaintiff to obtain an entry of default

against the above captioned defendant, as no potential claimants have claimed an interest or

otherwise defended the action.

       3.      The plaintiff commenced this forfeiture action in rem against the defendant

property by filing a verified complaint for forfeiture on October 27, 2017. See Compl., ECF No.

1.

       4.      On January 17, 2018, the defendant property was served with process by the

execution of a warrant of arrest in rem.

       5.      The government gave notice of this action to all known potential claimants

pursuant to the procedures set forth in Rule G(4) of the Supplemental Rules For Admiralty Or

Maritime Claims And Asset Forfeiture Actions (“Supplemental Rule”). Supplemental Rule

G(4)(b) requires the government to “send notice of the action and a copy of the complaint to any
                                                     1
             Case 1:17-cv-02233-ABJ Document 7 Filed 01/31/18 Page 2 of 3




person who reasonably appears to be a potential claimant.” Fed. R. Civ. P. Supp. R. G(4)(b).

The government identified two known potential claimants. On or about November 17, 2017, the

government served notice on the known potential claimants via Federal Express.

        6.      Supplemental Rule G(4)(a) also requires the government to publish notice of the

forfeiture “to an official internet government forfeiture site for at least 30 consecutive days.”

Fed. R. Civ. P. Supp. R. G(4)(a)(iv)(C). On November 29, 2017, the government began posting

such notice on an internet site, http://www.forfeiture.gov, for 30 consecutive days. Any verified

claim in response to the notice by internet publication to be filed no later than January 29, 2018.

See Fed. R. Civ. P. Supp. R. G(5)(a)(ii)(B); Service by Publication, ECF No. 4.

        7.      No party may contest the government’s allegation that the defendant property is

subject to forfeiture, because: (1) there is no claim on the record to the defendant property; (2)

the time for filing a claim has expired, and no extensions of time were given, and (3) no person

who reasonably appeared to be a potential claimant is an infant of incompetent person.

        8.      Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the

foregoing is true and correct.

        9.      The Clerk is requested to enter Default against the defendant property and all

parties that might have an interest in it.




                                                      2
             Case 1:17-cv-02233-ABJ Document 7 Filed 01/31/18 Page 3 of 3




       10.      Executed this 30th day of January, 2018, by undersigned counsel for plaintiff the

United States of America.



                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              United States Attorney

                                              By: _______/s/___________________
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